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                          CERTIFICATE OF CONFERENCE

      I hereby certify that I conferred with Assistant United States Attorney Jody Young
concerning this motion. Mr. Young stated the United States is opposed to this motion.

                                           /s/ Chris Flood
                                           Chris Flood




                              CERTIFICATE OF SERVICE

         I hereby certify that on August 7, 2019, I electronically filed the foregoing document
with the Clerk of Court using CM/ECF system which will send notification of such filing
to all filing users.


                                           /s/ Chris Flood
                                           Chris Flood




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